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                                                                                 United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                            UNITED STATES DISTRICT COURT                                 May 20, 2016
                             SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                  LAREDO DIVISION

RUBEN PENA,                                   §
                                              §
        Plaintiff,                            §
VS.                                           §   CIVIL ACTION NO. 5:15-CV-202
                                              §
EDUARDO TORRES PACHECO, et al.,               §
                                              §
        Defendants.                           §

                                 MEMORANDUM & ORDER

       This is a personal injury case resulting from a collision between a passenger vehicle

operated by Plaintiff Ruben Pena and a commercial van owned by Defendant Yanet Conde and

driven by Defendant Eduardo Torres Pacheco, who is said to have operated the vehicle in the

course and scope of his employment with Defendant Y&E Transport Corp. (Dkt. 5.) Pending is

the Magistrate Judge’s Report and Recommendation concerning the dismissal of Defendant

Y&E Transport and Defendant Pacheco for Plaintiff’s failure to show timely service of process

pursuant to Rule 4(m) of the Federal Rules of Civil Procedure. (Dkt. 12.) Given the

circumstances, the Magistrate Judge’s recommendation of dismissal will be accepted.

       The original complaint in this case was filed in September of 2015. (Dkt. 1.) By

December, only Defendant Conde had submitted an answer, so the Magistrate Judge held a

conference concerning the status of service of process on the other defendants. Plaintiff

represented at such conference that service was still pending on Defendant Y&E Transport and

that Defendant Pacheco could not be located and had likely left the country. The Magistrate

Judge thus continued the matter. A second status conference was held in January of 2016.

Plaintiff indicated that Defendant Y&E Transport had now been served, but that Defendant

Pacheco still could not be located.

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       More than one month later, however, Plaintiff had yet to submit proof of service for

either Defendant Y&E Transport or Defendant Pacheco. As such, the Magistrate Judge issued a

notice warning Plaintiff that failure to show good cause for his failure to serve these defendants

within the timeframe set by Rule 4(m) would lead to dismissal of the claims against them.

(Dkt. 11.) Plaintiff was given a response date of March 1, 2016. (Id.) Having heard nothing from

Plaintiff by this deadline, the Magistrate Judge issued his Rule 4(m) recommendation on March

16th. (Dkt. 12.) More than fourteen days have lapsed since the issuance of the report, and no

objections thereto have been filed.

       As such, the Magistrate Judge’s report (Dkt. 12) is hereby ACCEPTED, such that

Defendant Y&E Transport Corp and Defendant Eduardo Torres Pacheco are DISMISSED from

this case without prejudice. The Clerk of Court is DIRECTED to make the corresponding

notation on the electronic docket sheet. This case is now REFERRED back to the Magistrate

Judge for further plenary pre-trial handling and ruling on non-dispositive motions.

       IT IS SO ORDERED.

       SIGNED this 20th day of May, 2016.



                                                 ___________________________________
                                                 Diana Saldaña
                                                 United States District Judge




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